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 4
 5   Attorney for Defendant, JOSE RIOS-ESCOBAR
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )        CASE NUMBER: 1:06-CR-00200-OWW
                                                      )
11                          Plaintiff,                )        STIPULATION AND ORDER FOR A
                                                      )        RESETTING OF HEARING ON
12   v.                                               )        REPORT OF PROBATION OFFICER
                                                      )
13   JOSE RIOS-ESCOBAR,                               )
                                                      )
14                          Defendant.                )
                                                      )
15
16           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and
17   the defendant by and through his attorney, that the date set for hearing on the presentence report of the
18   probation officer and sentencing be extended as follows, additional time is necessary for psychiatric
19   evaluation of defendant:
20                  Probation Report available to Defense Counsel: move from
                    December 18, 2006 to February 20, 2007.
21
22                  Defense Counsel’s Informal Objections due to Probation and AUSA:
                    move from January 2, 2007 to March 5, 2007
23
24                  Formal Objections must be filed with the Court and served on
                    Probation and AUSA: move from January 16, 2007 to March 19,
25                  2007.
26                  RPO Hearing: move from January 22, 2007 at 1:30 p.m. to March
                    26, 2007 at 1:30 p.m.
27   ///
28   ///
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 1   ///
 2   ///
 3   ///
 4   ///                                        Respectfully submitted,
 5
 6
 7   DATED: January 9, 2007                      /s/ Salvatore Sciandra
                                                SALVATORE SCIANDRA
 8                                              Attorney for Defendant,
                                                JOSE RIOS-ESCOBAR
 9
10
11   DATED: January 9, 2007                     /s/ Kevin P. Rooney
                                                KEVIN P. ROONEY
12                                              Assistant United States Attorney
13
14
                                           ORDER
15
             IT IS SO ORDERED.
16
     Dated: January 10, 2007                   /s/ Oliver W. Wanger
17   emm0d6                               UNITED STATES DISTRICT JUDGE
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